Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 1 of 15 Page ID
                                 #:1376
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 2 of 15 Page ID
                                 #:1377
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 3 of 15 Page ID
                                 #:1378
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 4 of 15 Page ID
                                 #:1379
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 5 of 15 Page ID
                                 #:1380
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 6 of 15 Page ID
                                 #:1381
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 7 of 15 Page ID
                                 #:1382
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 8 of 15 Page ID
                                 #:1383
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 9 of 15 Page ID
                                 #:1384
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 10 of 15 Page ID
                                  #:1385
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 11 of 15 Page ID
                                  #:1386
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 12 of 15 Page ID
                                  #:1387
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 13 of 15 Page ID
                                  #:1388
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 14 of 15 Page ID
                                  #:1389
Case 8:22-cv-00099-DOC-DFM Document 132-3 Filed 02/22/22 Page 15 of 15 Page ID
                                  #:1390
